                     Case 3:21-mj-03018-KAR Document 7 Filed 02/04/21 Page 1 of 3


AO 199A (Rev. 06/19) Order Setting Conditions of Release                                                  Page I of   1   Pages



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                           District of Massachusetts


                    United States of America                             )
                               v.                                        )
                                                                         )         Case No. 21-mj-3018 (KAR)
                       BRIAN MCCREARY
                                                                         )
                               Defendant                            ·-   )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(I)    The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       the court may impose.
       The defendant must appear at:  U.S. District Court for the District of Columbia
                                                                               Place
        333 Constitution Avenue N.W. Washington D.C. 20001

                                                           2/10/20211:00 pm
       on                                              -----
                                                                         Date and Time

       If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.
Case 3:21-mj-03018-KAR Document 7 Filed 02/04/21 Page 2 of 3
Case 3:21-mj-03018-KAR Document 7 Filed 02/04/21 Page 3 of 3
